Filed 01/30/16                                    Case 15-14228                                               Doc 60


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTE ORDER


    Case Title :        Oscar Gutierrez                                    Case No : 15−14228 − B − 13
                                                                              Date : 01/28/2016
                                                                              Time : 01:30

    Matter :            [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                        $176) (eFilingID: 5697015) (msam)


    Judge :             Rene Lastreto II                        Courtroom Deputy : Jennifer Dauer
    Department :        B                                               Reporter : NOT RECORDED


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None


                                               CIVIL MINUTE ORDER


    For the reasons set forth in the court's civil minutes, docket number 58,

    IT IS ORDERED that the motion is continued to March 23, 2016, at 1:30 p.m. in Department B, Courtroom
    13, Fifth Floor, U.S. Courthouse, 2500 Tulare Street, Fresno, California. The motion is hereby designated
    as Docket Control Number CAA−1.

    IT IS FURTHER ORDERED that the matter is deemed to be a contested matter. Pursuant to Federal Rules
    of Bankruptcy Procedure 9014(c), the federal rules of discovery apply to contested matters. The parties
    shall immediately commence formal discovery, meet and confer, and set deposition dates if necessary. If
    the matter is not resolved by the continued hearing date the court intends to consolidate the motion in this
    case with the related motion, Docket Control Number CAA−1 (document #15) in case number 15−14225.



               Jan 30, 2016
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    This document does not constitute a certificate of service. The parties listed below will be served a
    separate copy of the attached Civil Minute Order.


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